Case 2:97-cr-20241-.]PI\/| Document 319 Filed 09/02/05 Page 1 of 2 Page|D 146

 

IN THE UNITED sTATEs DISTRICT coURT F;;_Eo BY L!,_.~ D-'-"-
FOR THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION t 05 359 ..2 ph 5: 211
IHGMASM.MLD
CtEHK. U.S` titf;t§ttCT COURT

UNITED` sTATEs oF AMERICA, mg ‘}F§t§?~;-!?rit$

NOB. 97-20234 Ml

Plaintiff, 97-20235 Ml
97-20236 Ml

v. 97-20237 Ml
97-20238 Ml

EDDIE D. JE'I‘ER, 97-20239 Ml

97-20240 Ml/
Defendant. 97-20441 Ml

'-._¢4 v\_u\_J-..u\\_.z\.r'~_.zv‘~_/*~_¢

 

ORDER GRANTING EXTENSION OF 'I‘IME TO SURRENDER

 

Before the Court is the Defendant's motion to continue his
surrender date (Defendant's current surrender date is September
6, 2005) , filed Septem.ber 2, 200'5. The Defendant requests an
additional thirty (30) days in order to continue his recovery
from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.
The Defendant's motion is hereby GRANTED.

I'I' IS SO ORDERED THIS g DAY OF September, 2005.

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J P. MCCALLA
ITED STATES DIS'I'RICT JUDGE

 

Thts document entered on the docket sheet in§ncgp!iancs
with Flute 535 and/or 32(|:)) FRCrF’ on

   

UNITED `sTATEs DISTRICT COURT - W"'RTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 319 in
case 2:97-CR-20241 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

